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 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3                                                           Case No.: 3:24-cv-00272-MMD-CSD
     CARLOS RICHARD LECROY,
 4                                                                           Order
              Plaintiff
 5
     v.
 6
     VA SIERRA NEVADA HEALTH CARE,
 7
              Defendant
 8

 9           Plaintiff has filed a civil complaint. The Local Rules of Practice for the District of

10 Nevada provide: “Any person who is unable to prepay the fees in a civil case may apply to the

11 court for authority to proceed in forma pauperis (IFP). The application must be made on the

12 form provided by the court and must include a financial affidavit disclosing the applicant’s

13 income, assets, and liabilities.” LSR 1-1.

14           Plaintiff's complaint was not accompanied by an IFP application or the filing fee (for

15 actions filed on or after December 1, 2023, the filing fee is $405 (the $350 filing fee and $55

16 administrative fee)).

17           The Clerk shall SEND Plaintiff a copy of the instructions and application to proceed IFP

18 for a non-prisoner. Plaintiff has 30 days from the date of this Order to either file his completed

19 IFP application or pay the full $405 filing fee. If Plaintiff files his completed IFP application, the

20 court will screen the complaint under 28 U.S.C. § 1915(e)(2)(B), which requires dismissal of a

21 complaint, or any portion thereof, that is frivolous or malicious, fails to state a claim upon which

22 relief may be granted, or seeks monetary relief against a defendant who is immune from such

23 relief.
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 1        If Plaintiff fails to timely file a completed IFP application or pay the filing fee, the court

 2 will recommend dismissal of this action without prejudice.

 3 IT IS SO ORDERED.

 4 Dated: July 18, 2024

 5                                                            _________________________________
                                                              Craig S. Denney
 6                                                            United States Magistrate Judge

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